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   AN N E T .FITZ GE R AI,D ,eta1.y

         Plaintiffsy                             Case pfo.5:17-cv-16

   V.


   JAM ESB.ALCORN ,eta1.,
                                                 By:    M ichaelF.U rbansld
         D efendants.                                   ChiefUnited StatesDistrictludge

                                 M EM O RAN D U M O PIN IO N

         Tllism attercom esbeforethe courton defendants'm otion to exclude the tesém ony

   ofJeffreyA.lenldns,PhD,asaproposed expertwitrlessfortheplaintiffs.ECF No.37.The
   courtheard argum enton them otion atan O ctober26,2017 hearing.The defendantsarethe

   VirginiaD epartm entofElectionsand m em bersoftheVirginiaBoard ofElecéons.lThe

   plaintiffsare threeindividualsand two voluntaryassociaéonsaffiated with fheRepublican

   PartyofVirginia(the<Tattf').ThelawsuitchallengestheconsétudonalityoftheIncumbent
   Protecdon Act(thef% ct'),Va.Code.Ann.j24.2-5097).TheActprovidescettain elected
   officialswith the powerto choosethem ethod ofnotnination used to selecttheirpoliécal

   party'snonùneefottheizoffice.Crossmoéonsforsummaryjudgmentarependingandwill
   be considered in a forthconaing M em orandum O pinion.Butfornow,the courtaddresses

   defendants'requesttoexcludelenkinsasan expertwimess.Thecotutwilldenythemotion
   forthereasonsbelow .


   :U nderV itginialaw , t
                         heDepar%
                             entofElecdonsadml'.nl
                                                 .stetst
                                                       hezeguladonsptomukatedbyfhe
   BoardofElecdons.SeeVa.CodeAnn.jj24.2-103,24.2-404.


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                                                  1.

          JenkinsisaProvostPzofessotofPublicPolicy,PoliticalScience,andLaw atthe
   UrtiversityofSouthern California.PriortojoiningUSC,JenlcinstaughtattheUniversityof
   Virgirlib forten years.H e also held acadelnic positionsatN orthwestern University and

   M ichigan StateU niversity a'
                               nd postdoctoralfenow shipsatPrinceton Ulvezsity and

   M iclnigan StateUrliversity.Jenkins'wozk focuseson legislaévepolidcsandpolilicalparées
   andincludesmozethan40articlesinpeer-reviewedjournals.Hehasnotservedasanexpezt
   wittaessin liégation during thepziorfouryears.

          In supportoftheirsummaryjudgmentmoéon,plaintiffsflledasigned declaration
   sllmm arizinglenkins'proposed ttialtestimony,/EcF No.39-27,andlenkins'deposition
   taken bydefensecounsel,ECF No.39-30.Plainéff'sexpertdisclosureinclicatedthatlenkins
   would testifyaboutffthe nornination processunderVizginiaLaw and thePlan of

   OrganizatbnoftheRepublicanPartyofVirginia,thestructuraladvantagesenjoyedby
   incumbentofûceholdersgsic)in suchprocess,and theaddidonaladvantagesconferred to
   incumbentofhceholdezgsicjby Section 24.2-509@)...aswellastelated matters,allasset
   forth in theExpertReportpreviously provided.''ECF N o.38-1,at1-2.2

          In fornning llisopinionsrelated to thiscase,lenldnsrelied heavilyon rationalchoice
   institudonalism ,atheory thatpositsthatpoliticaloutcom esatetheproductofpreferences

   andinstitudons.ECF No.39-27,at3-4.Pursuanttothistheory,Jenkinsopinesinllis
   declaradon thatVitgirsiainctmabentsffhave the abilityto assesshow theywould perform

   2Jenkins'expertreportwasflledbydefendantsatECF No.38-2,at42-53.Inaddidon,allpage
   numbersnotedin thisM em orandum Opizlion thatareassociated witla2CF doclamentsreQectthe
   pagenum berlisted itlthe EcF-czeated footer,nottlle pagenlzm berlisted on the ozigm
                                                                                     ' al
   docum ents.



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   underthedifferentnonzinaéon m ethodsand choose the one thatthey believem axim izes

   theirchancesofreelection.''Ld.at9.HestatesthatTfthemereexistenceoftheAct...

   disadvantageschallengersandbenehtsincumbents.''J.
                                                   d.lnaddidon,Jenkinsbelievesthat
   oneway to strengthen therole ofpolitkalpaztiesw ould be to im plem entpartyregistzation

   forprim ary voters,which would allow Tfpartiesto restrictprim ary patticipation to their

   membersexclusively.''Ld.at10.Jenkinsexpanded on theseopinionsin hisdeposidon.
   Plainéffscontendthatlenldns'testimonyisrelevantto both oftheissuesatthecenterof
   thiscase:whetherplaintiffshave stancling to sue and whetheztheActviolatestheirFirst  .




   Amendmentrights.Defendantsatguethatlenkins'testimony failsto satisfytheevidentiary
   standardsrelated to expertwitnesses.

                                                  II.

          FederalRule ofEvidence702 governstheadnnissibility ofexperttestim ony.3The

   Rule'sprescdptionsareguided by the Suprem e Court'sdecisionsin D aubertv.M errellD ow

   Pharms.Inc.,509U.S.579(1993),andKumhoTireCo.,Ltd.v.Carnnichael,526U.S.137
   (1999).InDaubert,theCourtexplainedthatthefTtrialjudgemustensutethatanyandall
   scientific testim ony orevidence admitted isnotonly relevant,butreliable.J'509 U.S.at589.


   3Rule 702 states:
                  A wim ess who is qualised as an expert by knowledge, slc1      'll,
                  expetience, ttaining, oz educadon m ay tesdfy irl the fot'm of an
                  opinion orotlaezwise if:
                         (a)the expett's scientm c, technical, or other specialized
                         knowledge will help tlle trier of fact to understand the
                         evidence oz to detelmnine a factin issue;
                         (b)thetestimonyisbasedonsuffcientfactsozdata;
                         (c)tlle testimony is the ptoductof zeliable principles and
                         m ethods;and                                     '
                         (d)theexperthasreliablyappliedtheptinciplesandmethods
                         to the factsofthecase.



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   UnderRule702,ffexperttestim onywhich doesnotrelate to any issuein the caseisnot

   zelevantand,ezgo,non-helpful''to thetrieroffact.J-c-
                                                      l.at591.4In KumhoTite,theCotzrt
   m ade clearthatthese principlesapply to a1lpzoposed expeztwitnesses,including those with

   specializedknowledgesuch asJenkins.SeeKumho Tire,526U.S.at141.ffl'
                                                                    hequesdon of
   whetherawitnessisqualified to testifyiscontext-driven and can only be deternained by the

   nature ofthe opinion he offers.':RG SteelS arrowsPoint LLC v.ltinderM or an Bulk

   Terminals,Inc.,609F.App'x731,738(4thCir.2015).
          Defendantsarguethatlenldnsoughtto beexcluded asan expertbecausehis
   testim onyisirrelevantand w ould '
                                    notbehelpfulto the ttieroffactin resolving the case.

   Theymaketwo arguments:(1)Jenkinslackstherequisitefamiliaritywith theVitginia
   electoralprocedutesatissueinthiscase;and(2)Jenkins'definiéonofaffclosedprimarf'
   contradictsthe definition em ployed by federalcourtsin controlling cases.

          In supportoftlwi.
                          rfttstargument,defendantsargtzethatlenkins'acadenaic
   backgzoundon nationalpoliticsisinapplicableto thiscase,andlenldnsdidnotreview
   sufficientVirginia-specificmaterialsin forming hisopirlions.DefendantsfocusonJenkins'
   statementthatffgmlostofmyscholarlyworkison nadonalparties,U.S.Congtess,Am erican
   politicaldevelopm ent.M uch less so on state parties.''ECF N o.38-2,at9:15-17

   (emphasisadded).Theyatguethattqenkinsattemptstoparlayllisteseatch and familiarityas
   an experton nadonalpolidcsinto an expertopinion on Virgt
                                                          'ta'
                                                             la elecdon procedutesand

   statepartydynamics.''ECF No.38,at7.Plaintiffscounterthatlenkins'expertiseinrational
   choiceinstittztionalism allowsJenkinsto opineasto how thosegeneralprinciplesapplyto

   4The courthasom itted internalquotadon m atks, altetations,and citadonshere and O oughoutthis
   opinion,urllessotherwisenoted.
                                                4

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   the factsofthiscase.According to plaintiffs,tfcotzrtsdo notrequire narrowerand narrower

   sub-specializadon ...in orderto adm itexpezttestim ony into evidence.''E CF N o.41,at5

   (discussingPalatkav.Sava eArms Inc.,535F.App'x448,454(6thCir.2013),whereinthe
   courtallowed experttestim ony ofam echanicalengineerin aproductsliability case about

   flrenf-ms,even though theengineezlacked specifcknowledgeofftreazms).
         D efendantsalso arguethatlenldnsdidnotsufficientlypreparein orderto form his
   opinionson thesubjectmatterofthiscase,which f'artherrevealshislackoffanailiat'itywitll
   Vitgirlia'selectoralsystem.ln preparing forhistestimony,Jenkinsreviewedvarioussecéons
   ofVirginia'selecdon laws(includingtheAct),formspromulgated bytheDepartmentof
   Electionsused to enforcethoselaw s,m em oranda flled by plqinéffsin the case,theParty's

   PlanofOtgarlization (thefTlan''),andotherPattydocumentsrelatedtotheselecdonof
   nom inaéon m ethods.H e also reviewed theacadernic litezataterelated to tlaeA ct,albeit

   scatce,and otherpeer-reviewed literature on principlesofincllm bency advantage and

   polidcalpatties.SeeECF N o.39-27,at4,12-13.

         A ccorcling to defendants,those m atezialsdo notpzovideenough background on

   whichlenkinscouldhavereliably formedhisopinions.Theycontendthatlenkinsshould
   havereview ed m eeting nlinutesofpbinéffs20th H ouse ofD elegatesD istdctRepublican

   Committeeand6th CongressionalDistrictRepublican Committee.Further,Jenkinsoughtto
   haveknown thatin presidentialpzim aries,Virginialaw allowspolidcalparéesto requite Tdthe

   signing ofapledgebythevotezofllisintention to supportthepartfscandidate.''Va.Code




Case 5:17-cv-00016-MFU-JCH Document 54 Filed 01/05/18 Page 5 of 10 Pageid#: 3377
   Ann.j24.2-545(A).Defendantsalso citeJenkins'lack ofknowledgethatthePartyvoted to
   exercise such apledgezeqllirem entin the2016 pfesidentialpzim aries.s

          ThecotzrthasreviewedJenkins'proposedtestimony,laisqualifcations,and
   pzeparadon and concludesthathellisqualified undetRule702.A sdefendantsrecognize,

   Jenkinshasffsignificantexperiencewith nadonalpolidcalscience.''ECF No.38,at8.lndeed,
   llisproposed testim ony appliesgeneralprinciplesofzadonalchoiceinsdttzdonalism to the

   electozalproceduzesatissuein thiscase.Jenkins'testimonyshowshisfamiliaritywith the
   ActandthePlan,thesourcesatthecenterofthecontroversy.Althoughlenkinsdid not
   considezevery bitofevidence thatdefendantsconsiderim portant,Tfone need notbe

   preciselyinform ed aboutalldetailsoftheissuesraised oreven havepriorexperiencewith

   theparticularsubjectthetestimony concezns.':RG Steel,609F.App'x at7399seealso
   Breslezv.Wilmin tonTr.Co.,855F.3d 178,195(4thCit.2017)rfloluesdonsregarclingthe
   facttzalunderpinningsofthe expertwitness'opinion affectthe weightand credibility ofthe

   witness'assessment,notitsadrnissibilitp').Them eeting nninutesand othermaterialsthat
   Jenldnsdid notconsider,whilerelevant,azenotcziticaltoJenldns'testimony thatthepowezs
   grantedbytheActaffectpolidcaloutcomes.Consequently,thecourtfindsthatlenkins
   possessestherequisitebackground asapoliécalscienéstand adequately reviewed case-

   specificm aterialsto offerhisproposed expetttestim ony.



   5A lthough notin tlaezecotd, the cotutnotesthatthe Patty ultim ately zescinded thepledge
   requitem entbefore the2016 ptim at'y Election D ay.SeeBZ Baztel,Vit ' 'a G O P asks state to cancel
   çfloyaltyoatlf'TheVirginiaPilot,Jan.30,2016,availableathtms://piotonll 'ne.com/news/
   goveznment/pondcs/e e a/o e a-votets-l-gop-prl     'mav-must-sir -statement-sae g-
   +ey/ardcle-4bea8ea7-1e97-56a8-b48f-db62c80300ë.htm1.Duringthedeposidon,defensecounsel
   didnotinform lenkinsaboutthePatty'scancelladonofthepledgerequirement.


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          Defendant'ssecondargumentchallenginglenldns'qualificationislikewiseunavoiling.
   Theyarguethatlenkins'employsadefrlitionofaTklosedprimarf;thatismorezestrictive
   than thedelinition relied on in SupremeCourtcases,and therefore,thisportion ofJenkins'
   testim ony isnotrelevant.The Suprem eCourthascharacterized a closed prim ary asoneTfin

   wlaich onlypezsonswho arem embersofthepolidcalparty- jar. who havedeclared

  .afftliaéon with thatpartywhen theyregisterto vote- can vote on itsnom inee.''California

   DemocraticPartyv.Jones,530U.S.567,570 (2000)(describing Cal.Elec.CodeAnn.jj
   2150,2151)9seealso Clingmanv.Beaver,544U.S.581,587 (2005)(K<InTash'ian thisCoutt
   struck down,asinconsistentwith theFirstAm endm ent,a closed prim ary system that

   preventedapoliticalpartyfrom inviting Independentvotersto votein theparty'sprimary.'')
          In conttast,Jenldnsbelievesthatforaprimarytobeffclosed,':theelectoral
   pzocedtuesmustplaceareladvelyhigh barrierto entry.According toJenldns,aprimaryis
   notclosed if,in otdetto patdcipate,votersneed only declateaffiliation to thepatty.Rather,

  Jenkinsbelievesthattherulesmustim poseaTdftzt-urecost?7- such asprevenéngavoterfrom
   switching to anotherpartyin the nextelecdon- in orderfortheptim ary to be chazacterized

   asclosed.ECF No.38-2,at25:5-25.6Jenkins'view ofwhatconstimtesaclosed primaryis

   6The Supzem e Courthasitw alidated a state 1aw thatprevented votersfzom switcbing patties for
   nearly two yeatsaftetvoting itaa patty'sclosed prim at'y.See Kus etv.Pondkes,414 U .S.51y58
   (1973).Defendcm sarguethatJenkins'fffaztarecost''requizementwouldbeitwalidunderKus et.
   Howevez,Jenkinsisnotclearastowhatfozm aTffutarecost''wottldentnil.SeeECFNo.38-2,
   25:20-25rfgfjfIvotedtodayasaRepublican,Icouldnot- thezehastobesomepreventionforme
   toessentiallymovetotheDemocraticcolumninthenextelecdon.Ican'tjustjllmppatdes
   wheneverI'dlike.lmean,that'sessendallyan openptimary.''l.Notallfututecostsitlptimaryvodng
   areconsdtazdonalityobjecdonable.lnRosariov.Rockefeller,410U.S.752 (1973),thecourtuphelda
   state law thatrequited votersto registerwith the patty oftheirchoicè atleast30 days befoze the
   pzeviousgenezalelection itlozderto voteirlthenextparty ptim ary.See Rosario v.Rockefeller   l
                                                                                                ,410
                                                 .
   U.S.752(1973).ltisequallyplausiblethatlenklns'Cdftztarecost''tequitementcould takethefoz.
                                                                                           m of
   theinvalidlock-outproceduzeatissuein Kus er,oztvevalid delayed-em ollmentptoceduteatissue


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   thereforem ore restrictive than the descziptionsused by federalcouzts.D efendantscontend

   thatsuch aclisagreementrequiresthecolzrtto excludelenldns'testimonyasirrelevant.The
   couzt,however,disagtees.

          D efendantscite no authol'ity fortheproposidon they seek to establish,thatis,that

   experttestim onyisitrelevantifthewittlessdisagreeswith federalcoutts'dehnidon ofa tet.
                                                                                        m

   thatdescribesan electoralpzocedure.Perhapsdefendantsbelievethatthe Suprem e Court's

   description ofaclosedprimaryinlones,530 U.S.at570,andClin an,544U.S.at587,
   itadicatesthatthetetm hasacontrollinglegaldeflnition.ffgo ourtsoften excludeexpert
   opinionsthatinvolvelegalconclusionsifthoseopinionstellthejurynothing aboutthe
   facts.''Wright& M illez,29Fed.Prac.& Proc.Evid.j6265.2 (2ded.);seealsoUnitedStates
              '
                                                        r

   v.Mclver,470F.3d 550,562-n.13 (4th Cit.2006)(opinion testimonythatffdrawsalegal
   conclusion byapplyinglaw to thefactsisgenezallyinadmissible ...gunlessij ishelpfulto
   thejurfl.Buthere,even assutningthatthedefiniéon ofaTfclosed primarf?amountsto a
   legalconclusion,Jenkins'testimonywouldbeade ssiblebecauseitwouldhelp thetrierof
   factin resolving thiscase.Specifkally,thetestim ony regarcling closed prim ariesillllm inates

   the effectofvotereligibility reqlpirem entson poliécalparties'ability to freely associatewith

   theitpreferred group ofprim aryvoters.Thisinform atbn w ould help a factfinderon the

   issuesofstanding and theplaintiffs'FitstAm endm entclnim s.And m ostim pottantly,

  Jenkins'view ofwhatcountsasaclosed primaryisancillaryto hiscoreopinionthattheAct
   disadvantageschallengersand benefitsincumbents.Any disagteem entoverthedefinidon of


   itlRosario.Defendantstlaerefozemisstlaemarkilenkins'view ofwhatconsdtt
                                                                        ztesaclosedptimary
   isnotnecessarilyforeclosedbyKus et.Futtlaez,andasexplainedbelow,evenifJenkins'de6nidon
   ofa closed ptitrmry am otm ts to a legalconclusion in conflictwith K us er,hisptoposed expert
                                      '

   testn.m ony isadm issibleso long asitishelpfalto the fm deroffact.
                                                   8

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   terms,asusedinlenkins'acadennicventuresand legalprecedent,goesto theweightof
   Jenldns'testimony,notitsadtnissibility.Jenkins'testimonyaboutclosedpzimarieswillnotbe
                                                                                  1



   excluded.

          Theconclusion to aclmitlenldns'tesdmonyisbolsteted by thefactthatthiscase
   dem andsa bench triai.TheD aubertstandardsapplylessstringently when the proposed

   experttestimonywillnotbeconsideredbyajury.SeeUnitedStatesv.W ood,741F.3d417,
   425(4thCir.2013)rfFinally,becausethedistrictcourtwasalsothetriezoffacts,thedisttict
   court'sevidenéarygatekeepingfunctionwasrelaxed.');United Statesv.Brown,415F.3d
   1257,1269 (11+ Cit.2005)rfThereislessneed forthegatekeepertokeep thegatewhen the
   gatekeepetiskeeping thegateonly forhim self.').In thiscase,thecourt,sitting asthetrierof
   fact,willbefreetoffacceptozrejecttheexperts'testimonyattrialwithoutinappropriately
   usurping itsgatekeeping function.''Lazosav.Pecora,N o.CIV .A .1:07CV78,2009W L

   3460101,at*3(N .D .W .Va.M ar.2,2009).7W hilethelowerDaubertstandardisnot
   deterrninativehere,itstrengthensthecoutt'sconclusion thatlenkins'testimonyisadnùssible
   underRule702.




   7Thepazdesandcipatethatthecotutwillzesolvethiscaseon thepending crossm odonsfor
   s'pmmaryjudgment.Nevertheless,tlaesamerationaleforapplyingDaubertlesssttingendyinabench
   trialappliestotheconsidezadon oftlaepzoposedexperttestimonyons' llmmaryjudgment.Thecourt
   hasffgreatflexibilitywithregardtoflaeevidencethatmaybeusedonasummaryjudgment
   proceelinp''Hum hre s& PartnersArchitectsL.P.v.LessatdDesi Inc.,790F.3d532,538(4th
   Cit.2015).Thisdiscredonallowsthecouzttoconsidetan expett'sswozndeclaratbnand deposidon
   testimonywhenpassingonsummaryjudgmentmodons.SeeHlma hre s,790F.3dat538-39
   (affitmingdistdctcourtdecisiontoconsidezswoznexpeztreportonRule56modonbecauseTftlae
   contentoftlaezepoztswot'  ldbeadmissiblethzoughtheexpett'stestimonyattrial'').Soitlanyevent,
   thecolzttwilldecidetheextenttowhichitwillzelyonlenkins'testimonyitlresolvingtlliscase,
   whetlaerg.tabenchtdaloron slnmmaryjudgment.
                                                9

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                                           111.

         Fortheteasonsabove,thecouttwilldeny defendant'sm oéon to excludethe

   testimonyofJeffreyA.Jenkins,PAD,asaproposed expeztwitnessfortheplnintiffs.ECF
   N o.37.A n appropriate Orderwillbe entered.

                                          Entezed: o l- 0v - a& z#
                                   4 /'* r'r
                                           'YA'
                                              V/ W A                           .
                                          M ichaelF.Utbanski
                                          ChiefUrzited StatesDistrictludgë ' '-'e' ''




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